                                                                             The Court acknowledges
                            UNITED STATES DISTRICT COURT
                                                                             Plaintiffs' Motion to
                            SOUTHERN DISTRICT OF INDIANA
                                                                             Dismiss, dkt. 44.
                                INDIANAPOLIS DIVISION
                                                                             JPH, 5/29/2019
PAUL BRAULT Derivatively and on behalf                )                      Distribution via ECF.
of Celadon Group, Inc.,                               )
JOHN DETLEFSEN Consolidated from                      )
1:18-cv-01868-SEB-DLP,                                )
                                                      )
                            Plaintiffs,               )
                                                      )
                       v.                             )      No. 1:18-cv-01424-JPH-DLP
                                                      )
PAUL WILL,                                            )
ROBERT LONG,                                          )
CATHERINE A. LANGHAM,                                 )
MICHAEL MILLER,                                       )
KENNETH BUCK, JR.,                                    )
WILLIAM MEEK,                                         )
BOBBY PEAVER,                                         )
BKD, LLP,                                             )
CELADON GROUP, INC. Nominal                           )
Defendant,                                            )
                                                      )
                            Defendants.               )

                             PLAINTIFFS’ MOTION TO DISMISS

       COME NOW, the Plaintiffs, Paul Brault and John Detlefsen, by counsel, and respectfully

request that this matter be dismissed and moves the Court to DISMISS WITH PREJUDICE the
above-entitled cause of action and alleges and asserts that this cause of action has been fully

compromised and settled with costs paid.

Respectfully submitted,

/s/ Jason A. Shartzer
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